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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §   CASE NO: 3:10-CR-035-L
                                                  §
ERNESTINE SINGLETON-DAVIS (02)                    §

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of Defendant, and the Report and Recommendation Concerning Plea of Guilty

of the United States Magistrate Judge (“Report”), and no objections thereto having been filed within

ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be accepted.

Based upon the Report of the Magistrate Judge, the court finds that Defendant is fully competent and

capable of entering an informed plea, that she is aware of the nature of the charge and the

consequences of the plea, and that her plea of guilty is a knowing and voluntary plea, supported by

an independent basis in fact, containing each of the essential elements of the offense. Accordingly,

the court accepts the plea of guilty entered by Defendant Ernestine Singleton-Davis on January 11,

2011, and she is hereby adjudged guilty of the offense charged in Count One of the Superseding

Information, which is a violation of 18 U.S.C. § 1001, namely, Making a False Statement. Sentence

will be imposed in accordance with the court's scheduling order.




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        It is so ordered this 26th day of January, 2011.




                                                     _________________________________
                                                     Sam A. Lindsay
                                                     United States District Judge




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